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UNITED STATES DISTRICT COUR'I` FOR THE FH.ED EY____Y€/ D c
WESTERN DISTRICT OF TENNESSEE "“'"“ "'

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THYSSENKRUPP ELEVATOR 1»\9L§R'v<)'sli§i ?i§-i“&r=t.l'<
MANUFACTURiNG, INC., ' W § h
Plaimiff,

v. Civil Action No. 05-2317 DP

MICHAEL R. SUTTON d/b/a
DMCELEVATOR.COM,

Defendant.
PROPBSEB'ORDER GRANTING DEFENDANT'S MOTION FOR FURTHER

EXTENSION OF DEADLINE TO RESPOND TO COMPLAINT

`/\_/\--/\,/\_/\..,/\_/\_/\-J\,/\.,/

 

 

 

 

Defendant moves this Court to iilrther extend the deadline for it to file a response to the
Complaint. Plaintiff consents to this request for extension of this deadline.

THEREFORE IT IS ORDERED AND DECREED that Defendant's Motion for Further
Extension of Deadline shall be and is hereby granted, and that the deadline for Defendant to file

a response to the Complaint shall be extended to June 20, 2005.

 

 

JUDGE B'E'RNI'CE'BOML-B-TL~ M. ~O,\¢-.M

DATE: flow \31, army

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UNITED STATES DISTRICT OURT- WESTERNDISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-023l7 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

